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                          UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF MICHIGAN
                               NORTHERN DIVISION

ROBERT MILTON SALEWSKY,

        Plaintiff,
v.                                                Case No. 2:11-cv-281
                                                  Hon. R. Allan Edgar
DANIEL BARTELL,
Michigan State Trooper

        Defendant.
                                              /


                                       JUDGMENT

        This action came before this Court for a trial by jury on 5/20/2013 and 5/21/2013.

The issues have been tried and the jury has rendered its verdict.

        IT IS ORDERED AND ADJUDGED that judgment be rendered in favor of Plaintiff

in the amount of $90,000.00 plus costs.



Dated: 5/21/2013                                     /s/ R. Allan Edgar
                                                  R. Allan Edgar
                                                  United States District Judge
